Case 4:17-cv-04123-LLP Document 60 Filed 09/10/18 Page 1 of 4 PageID #: 1260



                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA
                                 SOUTHERN DISTRICT

SALA NAAMBWE and YVETTE NIMENYA                    Case No.: 4:17-cv-04123-LLP

       Plaintiffs,

                      vs.                           DEFENDANT’S MOTIONS IN LIMINE

SMITHFIELD FOODS, INC.

       Defendant.

       Pursuant to the Court’s Third Amended Scheduling Order (Doc. 43), Defendant

Smithfield Packaged Meats Corp. (incorrectly named in this action as Smithfield Foods, Inc.)

(“Smithfield”) respectfully moves in limine for an order excluding any statement, argument, and

evidence of and prohibiting any reference to, whether during voir dire, opening statement, or

closing statement, the following

1.      Plaintiffs’ financial position. Smithfield requests that the Court exclude testimony or
evidence regarding Plaintiffs’ financial condition. The financial conditions of any party are
generally irrelevant. See, e.g., Dixon v. Verhey, 2014 WL 3535067, at *2 (D. Neb. July 17,
2014). Smithfield does not intend to argue Plaintiffs’ financial condition was relevant to any
actions they took or failed to take. As such, the evidence should be excluded. Fed. R. Evid. 401.

2.     Settlement negotiations. Smithfield requests that the Court order the parties, their
counsel, and all witnesses to refrain from offering testimony or other evidence concerning any
settlement offers or any settlement negotiations at trial pursuant to Fed. R. Evid. 408, which
provides, in pertinent part:

       “Evidence of the following is not admissible--on behalf of any party--either to prove or
       disprove the validity or amount of a disputed claim or to impeach by a prior inconsistent
       statement or a contradiction:

       (1) furnishing, promising, or offering--or accepting, promising to accept, or offering to
       accept--a valuable consideration in compromising or attempting to compromise the
       claim; and

       (2) conduct or a statement made during compromise negotiations about the claim--except
       when offered in a criminal case and when the negotiations related to a claim by a public
       office in the exercise of its regulatory, investigative, or enforcement authority….”

                                               1
 Case 4:17-cv-04123-LLP Document 60 Filed 09/10/18 Page 2 of 4 PageID #: 1261




and Fed. R. Evid. 409, which provides:

       “Evidence of furnishing, promising to pay, or offering to pay medical, hospital, or similar
       expenses resulting from an injury is not admissible to prove liability for the injury.”

3.      Other lawsuits in which Smithfield has been involved. Testimony, evidence, or
assertions about previous lawsuits against Smithfield should be excluded.    They have no
relevance to the matters at issue in this case and would only serve to prejudice Smithfield,
confuse the issues and mislead the jury. Fed. R. Evid. 401 - 403.

4.     Insurance. A defendant’s liability insurance is not admissible. Fed. R. Evid. 411.

5.      The Court’s prior rulings on any motions in limine. Evidence or assertions regarding any
previous rulings on any motion in limine should be excluded as it would only serve to cause
prejudice, confuse the issues, and mislead the jury as to the perceived strength or weaknesses of
a particular issue. Any prior ruling must be excluded under Fed. R. Evid. 403, as it has no
probative value.

6.    “Me Too” Evidence involving harassment, discrimination and incident reporting by other
employees. Smithfield elaborates on this motion in its separately filed Memorandum.

7.      “Golden Rule” Arguments. A party should not be permitted to either directly or by
implication urge the jury to place itself in a party’s position to allow recovery as the jurors would
want, if they were the party. Burke v. Deere & Co., 6 F.3rd 497, 513 (8th Cir. 1993), cert. denied,
510 U.S. 1115 (1994) (reversing trial verdict in part because of improper Golden Rule
argument).

8.     Probable testimony of any witness who is absent, unavailable, not called to testify in this
case, or not allowed to testify in this case. Any testimony of any witness who is absent,
unavailable, not called to testify in this case or not allowed to testify should be excluded as
hearsay. Hearsay is an out of court statement offered for the truth of the matter asserted, and, as
a general rule, is not admissible unless an exception applies. Fed. R. Evid. 801.

9.      Smithfield’s financial condition/evidence to support the claim for punitive damage:
Smithfield requests that the Court exclude testimony or evidence to support the punitive damages
claim and evidence regarding Smithfield’s financial condition. As this Court has previously
held, under South Dakota law, the Court must first determine after a “hearing and based upon
clear and convincing evidence, that there is a reasonable basis to believe that there has been
willful, wanton, or malicious conduct on the party of the party claimed against”. Brown v. Youth
Servs. Int'l of S. Dakota, Inc., 89 F. Supp. 2d 1095, 1107 (D.S.D. 2000) (citing SDCL 21–1–
4.1). Additionally, this Court has held that “evidence of financial worth may not be presented
unless and until the Court rules that the issue of punitive damages goes to the jury.” E.E.O.C. v.
Siouxland Oral Maxillofacial Surgery Assocs., L.L.P., 2007 WL 776321, at *9 (D.S.D. Mar. 9,
2007). No such determinations have been made and, accordingly, the evidence should be
excluded. See further Fed.R.Evid. 401, 403.

                                                 2
Case 4:17-cv-04123-LLP Document 60 Filed 09/10/18 Page 3 of 4 PageID #: 1262




Date: September 10, 2018           Respectfully submitted,

                                   SMITHFIELD PACKAGED MEATS CORP.

                                      /s/ Lisa K. Marso
                                      Lisa K. Marso
                                      BOYCE LAW FIRM, L.L.P.
                                      300 S. Main Avenue
                                      Post Office Box 5015
                                      Sioux Falls, SD 57117-5015
                                      605.336.2424 – PHONE
                                      605.334.0681 – FAX
                                      LKMARSO@BOYCELAW.COM

                                      Susan F. Wiltsie (Admitted Pro Hac Vice)
                                      Andrea R. Calem (Admitted Pro Hac Vice)
                                      HUNTON & WILLIAMS LLP
                                      2200 Pennsylvania Avenue, N.W.
                                      Washington, D.C. 20037
                                      202.955.1500 – PHONE
                                      202.778.2201 – FAX
                                      SWILTSIE@HUNTON.COM
                                      ACALEM@HUNTON.COM

                                      ATTORNEYS FOR DEFENDANT
                                      SMITHFIELD PACKAGED MEATS CORP.




                                      3
 Case 4:17-cv-04123-LLP Document 60 Filed 09/10/18 Page 4 of 4 PageID #: 1263



                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing was served via the Court’s electronic

filing system on September 10, 2018 on the following counsel for Plaintiffs:

                                      Stephanie E. Pochop, Esq.
                                      Johnson Pochop & Bartling
                                      405 Main Street
                                      Post Office Box 149
                                      Gregory, South Dakota 57333
                                      stephanie@rosebudlaw.com



                                      /s/ Lisa K. Marso
                                      Lisa K. Marso




                                                4


027120.0000086 EMF_US 70754296v2
